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10                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
11                                 SAN FRANCISCO DIVISION

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     FOOD & WATER WATCH, INC., et al.,
13

14                                               Case No. 3:17-cv-02162 EMC
                    Plaintiffs,
15
             v.                                  Notice of Publication of the National
16                                               Academies of Sciences, Engineering,
                                                 and Medicine’s Review of the Revised
17                                               NTP Monograph on the Systematic
     UNITED STATES ENVIRONMENTAL
                                                 Review of Fluoride Exposure and
18   PROTECTION AGENCY, et al.,                  Neurodevelopmental and Cognitive
19                                               Health Effects

20                  Defendants.
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1           On August 10, 2020, the Court held this case in abeyance. ECF No. 262. In doing so, the

2    Court noted that: “release of the [National Toxicology Program’s] systematic review (or at least

3    its proposed findings as may be presented to the National Academy of Science [“NASEM”] for

4    further comment) is imminent, and its findings are likely to add substantially to the body of

5    scientific analysis relevant to the precise questions before this court.” ECF No. 262 at 4. 1

6           On February 9, 2021, the NASEM released its Review of the Revised NTP Monograph on

7    the Systematic Review of Fluoride Exposure and Neurodevelopmental and Cognitive Health

8    Effects: A Letter Report. The report concludes:

9           Even though the evidence provided appears to show consistent indications of an
            association between exposure to high fluoride concentrations and cognitive
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            deficits in children, the monograph falls short of providing a clear and convincing
11          argument that supports its assessment. It also needs to emphasize that much of the
            evidence presented comes from studies that involve relatively high fluoride
12          concentrations and that the monograph cannot be used to draw conclusions
            regarding low fluoride exposure concentrations (less than 1.5 mg/mL), including
13          those typically associated with drinking water fluoridation.
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     NASEM Review at 1-2.
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            NTP has provided the attached statement, which acknowledges that “[t]he NASEM
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     committee did not support the NTP conclusions and determined that more clear and convincing
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     evidence is needed.” NTP Statement (attached as Exhibit B). NTP also states that it “will carefully
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     consider all of the committee’s comments as we finalize and publish the NTP Fluoride Monograph
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21   1 In 2019, the National Toxicology   Program (NTP) released the draft monograph Systematic
     Review of Fluoride Exposure and Neurodevelopmental and Cognitive Health Effects. To ensure
22   the integrity of its evaluation, NTP asked the National Academies of Sciences, Engineering, and
23   Medicine (NASEM) to review the draft monograph. The initial 2020 Review of the Draft NTP
     Monograph Systematic Review of Fluoride Exposure and Neurodevelopmental and Cognitive
24   Health identified deficiencies in the analysis of various aspects of some of the studies and in the
     analysis, summary, and presentation of the data in the draft monograph, provided many
25   suggestions for improvement, and concluded that NTP had not adequately supported its
     conclusions. NASEM Review at 3 (attached as Exhibit A and available at http://nap.edu/26030).
26
     In 2020, NTP asked NASEM to review its revised version of the draft monograph. The same
27   committee that performed the review of the original monograph was tasked with determining
     whether the changes made by NTP sufficiently address the committee’s concerns about the
28   original draft. Id.
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1    as a “state of the science” document later in 2021.” Id. Thus, NTP is no longer expected to reach

2    a conclusion regarding whether neurodevelopmental harm is a hazard of fluoride exposure.

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4    Dated: February 22, 2021                    Respectfully Submitted,

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                                                 /s/ Debra J. Carfora
6                                                DEBRA J. CARFORA
                                                 JOHN THOMAS H. DO
7                                                BRANDON N. ADKINS
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9                                                Attorneys for Defendants

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1                                       CERTIFICATE OF SERVICE

2           I hereby certify that on this 22nd day of February, 2021, a true and correct copy of the

3    foregoing Notice was filed electronically with the Clerk of the Court using CM/ECF. I also certify

4    that the foregoing document is being served on all counsel of record via transmission of Notices

5    of Electronic Filing generated by CM/ECF.

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                                                         /s/ Debra J. Carfora
7                                                        Debra J. Carfora
8                                                        United States Department of Justice

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